






	



		







NUMBER 13-08-00568-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG






IN RE FERNANDO GARCIA






On Petition for Writ of Mandamus.






MEMORANDUM OPINION



Before Justices Yañez, Garza, and Vela


Per Curiam Memorandum Opinion (1)



	Relator, Fernando Garcia, pro se, seeks a writ of mandamus ordering the trial court
to provide him with the clerk's record and court reporter's records pertaining to his
conviction for intoxication manslaughter.  This Court previously affirmed the conviction. 
See Garcia v. State, No. 13-06-00488-CR, 2008 Tex. App. LEXIS 5990, at *8 (Tex.
App.-Corpus Christi Aug. 7, 2008, no pet.) (mem. op. not designated for publication).  In
that appeal, relator was represented by appointed counsel.

	The Court, having examined and fully considered the petition for writ of mandamus,
is of the opinion that relator has not shown himself entitled to the relief sought. 
Accordingly, the petition for writ of mandamus is  DENIED.  See Tex. R. App. P. 52.8(a). 



								PER CURIAM



Do not publish.  See Tex. R. App. P. 47.2(b


Memorandum Opinion delivered and filed

this 10th day of October, 2008.

				


								

1.  See Tex. R. App. P. 52.8(d) ("When denying relief, the court may hand down an opinion but
is not required to do so."); Tex. R. App. P. 47.4 (distinguishing opinions and memorandum opinions).

